         Case 1:17-cv-00124-LLS Document 329 Filed 11/30/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TRADE COMMISSION and                        Case No. 1:17-cv-00124-LLS
 THE PEOPLE OF THE STATE OF NEW
 YORK, by LETITIA JAMES, Attorney
 General of the State of New York,
                        Plaintiffs,                  NOTICE OF APPEARANCE
                        v.
 QUINCY BIOSCIENCE HOLDING
 COMPANY, INC., a corporation;
 QUINCY BIOSCIENCE, LLC, a limited
 liability company;
 PREVAGEN, INC., a corporation
 d/b/a/ SUGAR RIVER SUPPLEMENTS;
 QUINCY BIOSCIENCE
 MANUFACTURING, LLC, a limited
 liability company; and
 MARK UNDERWOOD, individually and as
 an officer of QUINCY BIOSCIENCE
 HOLDING COMPANY, INC., QUINCY
 BIOSCIENCE, LLC, and PREVAGEN,
 INC.,
                        Defendants.



       Please take notice that the following attorney, who is admitted to practice in this Court,

has entered her appearance as counsel in this case for Defendants Quincy Bioscience Holding

Company, Inc., Quincy Bioscience, LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and

Quincy Bioscience Manufacturing, LLC:

              Caitlin R. Hickey
              Kelley Drye & Warren LLP
              3 World Trade Center
              175 Greenwich Street
              New York, NY 10007
              Phone: (212) 808-7800
              Fax: (212) 808-7897
       Case 1:17-cv-00124-LLS Document 329 Filed 11/30/22 Page 2 of 3




Dated: New York, New York
       November 30, 2022
                                    KELLEY DRYE & WARREN LLP


                                    By: /s/ Caitlin R. Hickey
                                        John E. Villafranco (admitted pro hac vice)
                                        Geoffrey W. Castello
                                        Jaclyn M. Metzinger
                                        Glenn T. Graham
                                        Caitlin R. Hickey
                                        3 World Trade Center
                                        175 Greenwich Street
                                        New York, NY 10007
                                        Tel: (212) 808-7800
                                        Fax: (212) 808-7897

                                         Counsel for Defendants Quincy Bioscience
                                         Holding Company, Inc., Quincy Bioscience,
                                         LLC, Prevagen, Inc. d/b/a Sugar River
                                         Supplements, and Quincy Bioscience
                                         Manufacturing, LLC




                                     2
        Case 1:17-cv-00124-LLS Document 329 Filed 11/30/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of November, 2022 I caused to be served the

attached NOTICE OF APPEARANCE to all counsel of record via the Court’s ECF System.



Dated: November 30, 2022
                                                   /s/ Caitlin R. Hickey_______
                                                   Caitlin R. Hickey




                                              3
